     Case 3:12-cr-00121-LRH-WGC         Document 64       Filed 02/05/13   Page 1 of 4




1

2

3

4

5

6                                UNITED STATES DISTRICT COURT
7                                       DISTRICT OF NEVADA
8                                                  ***
9      UNITED STATES OF AMERICA,                        Case No. 3:12-cr-00121-MMD-WGC
10                                         Plaintiff,                  ORDER
11            v.
12     BRET OGILVIE AND LINWOOD TRACY,
       JR.,
13
                                       Defendants.
14

15

16     I.     SUMMARY

17            This Order addresses a series of motions separately filed by Defendants Bret

18     Ogilvie and Linwood Tracy, Jr. The Order does not address motions pending where

19     briefing has not completed unless otherwise noted herein. After reviewing the motions,

20     including the responses from the government and Defendants’ reply briefs, and the

21     filings in this case, the Court finds that these motions lack merit and denies them.

22     II.    BACKGROUND

23            On November 28, 2012, Defendants Bret Ogilvie and Linwood Tracy, Jr. were

24     indicted on one count of Conspiracy to defraud the United States for the purpose of

25     impairing and obstructing the Internal Revenue Service of the Treasury Department’s

26     (“the IRS”) lawful functions of assessing and collecting income taxes.        The alleged

27     manner and means of the Conspiracy include making threats to sue the IRS and IRS

28     employees if tax liens and levies were not removed, filing of a lawsuit against IRS
     Case 3:12-cr-00121-LRH-WGC          Document 64      Filed 02/05/13    Page 2 of 4




1      employees, and transferring compensation of a bank account under the name of a

2      corporation sole. In addition, the Indictment charges Defendant Ogilvie with one count

3      of Corrupt Interference of Tax Administration and five counts of False Claims involving

4      tax years 2006 through 2010. Summonses were to be issued for Defendants to appear

5      on December 26, 2012. (Dkt. no. 2.)

6                On December 20 and 21, 2012, before their arraignment, Defendants separately

7      filed identical emergency motions for subpoenas (dkt. nos. 7 and 11) and three motions

8      to dismiss (dkt. nos. 8, 9, 10, 12, 13 and 14). Defendant Ogilvie also filed a Motion to

9      Dismiss Due To Retaliation, Robo Signing, and Fraud. (Dkt. no. 15.)

10               On December 26, 2012, Defendants made their initial appearance and pled not

11     guilty. Defendant Ogilvie waived his right to counsel. Defendant Tracy insisted on

12     representing himself, but he also requested standby counsel. The Magistrate Judge

13     granted his request and appointed standby counsel.

14               About a month later, on January 23, 2013, Tracy filed another Motion to Dismiss

15     All Charges due to Retaliation, Robo Signing and Fraud with This Amended document.

16     (Dkt. no. 50.) This Motion is similar to a motion of almost identical title filed by Ogilvie.

17     (See dkt. no. 15.)

18               On January 25, 2013, Ogilvie filed a second Motion to Dismiss for Lack of

19     Jurisdiction, which appears to be identical to the motion of the same title filed on

20     December 20, 2013. (Dkt. no. 51.)

21            Because Defendants filed several identical motions, these motions will be addressed

22     together.

23     III.      DISCUSSION

24               As an initial matter, the Court notes that the various motions to dismiss are

25     similar in that they consist of what appears to be legal arguments taken from other

26     briefs or cases that do not apply to this criminal indictment. These motions do not

27     present meritorious arguments for the Court to consider.

28     ///
     Case 3:12-cr-00121-LRH-WGC       Document 64      Filed 02/05/13   Page 3 of 4




1            A.     Emergency Motions for Subpoenas (dkt. nos. 7 and 11)

2            In their separate motions, Defendants moved for issuance of subpoenas for the

3      hearing scheduled for December 26, 2012.        However, the referenced hearing was

4      Defendants’ arraignment where no examination occurred or would have occurred.

5      Accordingly, the Motions for Subpoenas are denied.

6
             B.     Motions to Dismiss Indictment and Charges Based on Szfranski
7                   Violations (dkt. nos. 8 and 14)
8            It is not clear to the Court the basis upon which Defendants are seeking

9      dismissal.   Defendants claim the government is engaging in the production of

10     counterfeit securities. The identical Motions consist of purported quotations from cases

11     and legal discussions that are inapplicable to this case. These Motions are therefore

12     denied.

13           C.     Motions to Dismiss for Lack of Jurisdiction (dkt. nos. 9, 13 & 51)

14           In these Motions, Defendants appear to challenge the government’s authority to

15     prosecute them. Defendants offer purported quotes from various regulations, statutes

16     and famous jurists. However, the Court cannot decipher how they support Defendants’

17     request to dismiss for lack of jurisdiction.   Moreover, the offenses charged in the

18     Indictment cover violations of the laws of the United States found at 18 U.S.C. §§ 371

19     and 287 as well as 26 U.S.C. § 7212(a). This Court has jurisdiction of all offenses

20     against the laws of the United States. 18 U.S.C. § 3231.

21
             D.     Motions to Dismiss Indictment and Charges Based on Violations of
22                  Due Process (dkt. nos. 10 and 12)
23           These Motions similarly recite and quote extensively from purported statutes,

24     rules and cases. However, these discussions do not relate to the offenses charged in

25     the Indictment. To the extent that one of the numerous grounds raised is a challenge to

26     the Grand Jury Indictment, Defendants fail to offer any supporting evidence. Contrary

27     to Defendants’ suggestion, the Grand Jury that indicted them was impaneled by the

28     United States District Court for the District of Nevada for the November 14, 2012, term.
     Case 3:12-cr-00121-LRH-WGC          Document 64     Filed 02/05/13      Page 4 of 4




1      The roll taken shows that all 23 members of the Grand Jury were present when they

2      issued the Indictment. (See dkt. no. 4.) The records do not show any irregularities in

3      the Grand Jury Indictment here.

4
                E.    Motions to Dismiss All Charges Due to Retaliation, Robo Signing and
5                     Fraud (dkt. nos. 15 & 50)
6               These Motions suffer from similar deficiencies explained above. Sifting through

7      the irrelevant discussions borrowed from what appears to be other briefs and cases,

8      Defendants seem to challenge the government’s authority to prosecute them.               In

9      particular, Defendants claim that “[t]he people presenting the indictment were not

10     government officials, since the Government was acting as a bankrupt political

11     organization, and the people were only masquerading as government officials.” (Dkt.

12     no. 15 at 2-3; see id. at 6-7; dkt. no. 50.) The Court finds that this contention has no

13     merit.

14           These Motions also raise the same claim of irregularities in the Grand Jury

15     Indictment. As discussed above, the records do not support this claim.

16     IV.      CONCLUSION

17              The content of the motions filed in this case raises a concern for the Court as to

18     Defendant Ogilvie’s decision to waive his right to counsel and Defendant Tracy’s

19     decision to seek only standby counsel. The Court intends to revisit these issues at the

20     calendar call scheduled for February 13, 2013.

21              IT IS THEREFORE ORDERED that the motions referenced as the following

22     docket nos. are denied: 7, 8, 9, 10, 11, 12, 13, 14, 15, 50 and 51.

23              IT IS FURTHER ORDERED that Defendants not file any additional motion that is

24     a copy of the motions addressed in this Order.

25
                DATED THIS 5th day of February 2013.
26

27
                                                         MIRANDA M. DU
28                                                       UNITED STATES DISTRICT JUDGE
